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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 SHANNON TIPTON,                         CIVIL ACTION NO.
                   Plaintiff,            1:17-cv-588-WKW-DAB
       v.
 HOUSTON COUNTY BOARD OF
 EDUCATION, a local education
 authority;
 DAVID SEWELL, in his official
 capacity as Superintendent of
 Schools;
 TIM PITCHFORD, BOBBY
 HARRELL, KEN LANE, MARTY
 COLLINS, GARY COX, and
 JIMMY KILGORE, each in his
 individual capacity,
                   Defendants.


                         Amended Complaint
        The Plaintiff files this amended complaint within 21 days of the
answers and motion to dismiss of the Defendants. FRCivP Rule
15(a)(1)(B).
        1. This is a civil action seeking monetary damages and/or
injunctive relief against the several Defendants. This action arises
under the First and Fourteenth Amendments to the United States
Constitution and 42 U.S.C. §§ 1983 and 1988. Jurisdiction of this
matter is in this court pursuant to 28 U.S.C. §§ 1331 and 1343.




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                                 PARTIES
         2. Plaintiff SHANNON TIPTON is an adult citizen of the
United States and a resident of Houston County, Alabama.
         3. Defendant HOUSTON COUNTY BOARD OF EDUCATION
is a local education agency established in accordance with Ala. Code §
16-8-1 et seq.
         4. TIM PITCHFORD served as Houston County
Superintendent of Education from 2005 until the end of December 2016.
He is sued in his individual capacity only.
         5. DAVID SEWELL was elected Superintendent of Education
in November 2016 and assumed office on 1 January 2017. He was
nominated in the Republican Primary of March 2016, and was expected
thereafter to become the next Superintendent because there was no
Democratic opponent.
         6. SEWELL is sued only in his official capacity as
Superintendent of Schools. Plaintiff TIPTON does not allege that he
engaged in any unlawful conduct, and he is named solely because
Alabama law requires a recommendation by the superintendent and an
affirmative vote of the school board members before any Board of
Education can take personnel action, including providing the relief
requested by the Plaintiff TIPTON. Supt. SEWELL is a party without
whose presence the Court cannot accord complete relief to the
PLAINTIFF, F.R.Civ.P 19(a)(1)(A), as shown by the statutes listed
below.



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               a. “The county board of education shall appoint, upon
 the written recommendation of the county superintendent, all
 principals, teachers, clerical and professional assistants authorized by
 the board.” Ala. Code § 16-8-23.
               b. “There shall be a county superintendent of education
 in each county of this state who shall act as the chief executive officer
 of the county board of education and who shall also be secretary of the
 county board of education.” § 16-9-1.
               c. “The county superintendent of education shall
 nominate in writing for appointment by the county board of education
 all principals, teachers and all other regular employees of the board.
 He shall assign them to their positions, transfer them as the needs of
 the schools require, recommend them for promotion, suspend them for
 cause and recommend them for dismissal, subject to the provisions of
 Chapter 24 of this title.” § 16-9-23.
        7. The seven members of the BOARD are elected from districts.
Ala. Code § 16-8-1(b).
        8. Current members of the BOARD are Defendants KEN
LANE, MARTY COLLINS, GARY COX, and JIMMY KILGORE, plus
non-defendants Scott Thomas, David Hollinger, and Rickey Moore.
        9. Defendant MARTY COLLINS was elected to the BOARD in
November 2016 and took office immediately after the general election.
He replaced BOBBY HARRELL who did not seek reelection.




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        10. Defendant BOBBY HARRELL was a member of the
BOARD during 2016 until the November 2016 general election.
        11. Some current and former members of the BOARD are sued
in their individual capacities: KEN LANE, MARTY COLLINS, GARY
COX, JIMMY KILGORE, and BOBBY HARRELL.
                                  FACTS
        12. As will be more fully explained below, Plaintiff TIPTON is
a well-qualified teacher and psychometrist (a person trained to
administer and score psychological and neuropsychological tests for a
school system) with twelve years of experience in the Houston County
School System four and a half years in the Dothan City School System,
half a year in the Enterprise City Schools, and one year in the Chilton
County Schools. Despite her experience and qualifications, the BOARD
and its former Superintendent PITCHFORD have refused five times to
hire her for an administrative position. The evidence will show that
these refusals spring from TIPTON’s political support of the newly
elected Superintendent (SEWELL) who is opposed by most of the
members of the BOARD.
        13. Plaintiff TIPTON has a Bachelor’s degree in English,
Psychology, and Business (Troy University), a Master’s degree in
English Education (Troy), and current Alabama professional teaching
certificates for Secondary, School Counselor, and School Psychometrist,
and a leadership certificate for Instructional Leader (all certificates are
Class A, meaning she has a Master’s Degree).



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        14. Supt. SEWELL defeated Matt Swann in the 1 March 2016
Republican Primary. Board Chairman KILGORE is Swann’s stepfather.
Board member KEN LANE is the father-in-law of Swann.
        15. On information and belief, PLAINTIFF states that
KILGORE and LANE influenced BOBBY HARRELL, MARTY
COLLINS, and GARY COX to oppose the appointment of TIPTON as
Accountability Coordinator.
        16. Plaintiff TIPTON and her husband openly campaigned for
SEWELL in the Republican Primary, provided a publicly-reported
financial contribution, including in-kind contributions of constructing
large campaign signs for SEWELL, and openly and publicly distributed
campaign materials at events including widely attended football games
in the fall preceding the primary, interacting with supporters of Swann
who were engaged in the same type of campaigning.
        17. Plaintiff TIPTON and her husband hosted and catered
SEWELL’s victory celebration the night of his primary victory.
        18. In or about June 2016 Supt. PITCHFORD posted a notice
of a job opening, the position of Accountability Coordinator.
        19. Plaintiff TIPTON applied for the position of Accountability
Coordinator.
        20. A committee (containing no members of the BOARD)
interviewed Plaintiff TIPTON and rated her as the highest-rated
candidate.




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        21. On 14 July 2016, Supt. PITCHFORD placed on the board’s
agenda his recommendation that Plaintiff TIPTON be employed in the
previously posted position of Accountability Coordinator.
        22. , Before the 14 July 2016 Board meeting, Supt.
PITCHFORD placed next to TIPTON’s name on the Board’s agenda the
notation that incoming superintendent SEWELL requested her
appointment.
        23. PITCHFORD’s action of placing the note next to TIPTON’s
name intentionally sent a signal to BOARD members about TIPTON’s
connection to SEWELL.
        24. Before the Board meeting on 14 July 2016, Supt.
PITCHFORD removed Plaintiff TIPTON’s name from the personnel-
action portion of the agenda.
        25. The BOARD did not vote on the Superintendent’s
recommendation of Plaintiff TIPTON for the position of Accountability
Coordinator on 14 July 2016.
        26. While HARRELL was still a member of the BOARD and
prior to (or at) the BOARD meeting of 14 July 2016, he discussed with
Board member Moore and SEWELL his opposition to TIPTON’s
appointment because she was “too political.”
        27. Later in the year, Supt. PITCHFORD again placed Plaintiff
TIPTON’s nomination on the Board’s agenda for the 12 December 2016
meeting, but removed her name from the agenda prior to the meeting.




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         28. PITCHFORD stated to SEWELL that he removed the
TIPTON nomination because he did not want “controversy” at his last
meeting as superintendent.
         29. PITCHFORD’s statement about “controversy” shows that
he had talked with at least some of the BOARD members about the
TIPTON nomination.
         30. Supt. SEWELL relisted the recommendation of Plaintiff
TIPTON for the Accountability Coordinator position at three meetings
in the first half 2017.
         31. Each time Supt. SEWELL relisted the recommendation of
Plaintiff TIPTON, her name was placed separate and apart from other
personnel matters, contrary to the Board’s custom and practice.
         32. By various parliamentary maneuvers or votes, the BOARD
refused to confirm SEWELL’s recommendation of Plaintiff TIPTON
during the first half of 2017.
         33. In preparation for the 12 June 2017 Board meeting, Supt.
SEWELL nominated Plaintiff TIPTON and another psychometrist to be
approved for summer contract work.
         34. An agent of the BOARD (Dianne Hooper) removed Plaintiff
TIPTON’s name from the agenda before the 12 June 2017 meeting.
Hooper stated to another employee that she was advised to do so by the
BOARD’s legal counsel.




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         35. Ala. Code §16-22-15 requires that every position available
with a board of education be publicly posted with the required
qualifications listed.
         36. Plaintiff TIPTON has met or exceeded the required
qualifications every time the position of Accountability Coordinator has
been posted during 2016 and 2017.
         37. No Defendant has provided Plaintiff TIPTON with any
explanation why her recommendation for employment has been denied.
         38. At any BOARD meeting during 2016 or 2017 and during
which a recommendation for the employment of the PLAINTIFF was on
the agenda, the BOARD approved all other recommendations for
employment.
         39. To Plaintiff TIPTON’s knowledge, Supt. SEWELL’s
recommendation of Plaintiff TIPTON for employment is the only
personnel recommendation made by SEWELL or PITCHFORD that has
not been approved by the BOARD.
         40. Plaintiff TIPTON has experienced the type of mental
anguish, embarrassment, anger, frustration, disappointment, regret,
despair, loss of enjoyment of life, and disruption of her peace of mind as
a result of Defendant’s unlawful conduct which any reasonable person
would have suffered under like circumstances.
         41. The School Board Governance Improvement Act, Ala. Code
§ 16-1-41.1(d)(1), provides in part as follows:

         In conjunction with and as a precondition to the
         installation of any elected or appointed member of a

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        local board of education, and in addition to all other
        requirements imposed by law, prospective members
        shall be required for each term of office to affirm
        publicly and in writing all of the following principles of
        educational governance:

        a. That each decision, action, and vote taken or made
        as a member of a local board of education shall be
        based solely on the needs and interests of students or
        the system.

        b. That no decision, action, or vote shall be taken or
        made to serve or promote the personal, political, or
        pecuniary interests of the member.

        c. That each decision, action, and vote shall be based on
        the interests of the school system as a whole.


                                  CLAIMS
        42. The actions of the Defendants set forth above violated
Plaintiff TIPTON’s right of free speech and freedom of association as
guaranteed by the First and Fourteenth Amendments to the United
States Constitution.
        43. Defendant HOUSTON COUNTY BOARD OF
EDUCATION is liable for the violation of Plaintiff TIPTON’s rights as
set forth above because the members of the BOARD are the persons
who, pursuant to Ala. Code §§ 16-8-23 and 16-9-23, have the final
authority to make and execute employment policy on behalf of the
Houston County School District.
               a. Specifically, Ala. Code § 16-8-23 provides in pertinent
 part, “The county board of education shall appoint, upon the written


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 recommendation of the county superintendent, all principals, teachers,
 clerical and professional assistants authorized by the board.”
               b. Ala. Code § 16-9-23 also provides in pertinent part,
 “The county superintendent of education shall nominate in writing for
 appointment by the county board of education all principals, teachers
 and all other regular employees of the board.”
        44. The BOARD members do not interview persons before or
after they are recommended by the Superintendent for positions.
        45. The BOARD members generally have no information about
a personnel recommendation except the names recommended by the
Superintendent for employment on the personnel agenda and their
personal knowledge of the person(s) recommended.
        46. The unlawful employment practices complained of and the
actions of Defendants and/or their agents were intentional and with
malice or with reckless indifference to the BOARD members’ duties
under the School Board Governance Improvement Act and to Plaintiff
TIPTON’s statutory and Constitutional rights, entitling Plaintiff
TIPTON to damages in the form of compensatory damages and punitive
damages to punish the individual-capacity Defendants for their actions
and to deter them, and others, from such actions in the future.
        QUALIFIED IMMUNITY OF THE INDIVIDUAL DEFENDANTS
        47. To the extent that the individual DEFENDANTS invoke
the protection of qualified immunity, such protection is not available in
the present case.



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        48. At the time of the events described in this Complaint, it
was clearly established that it was unlawful to retaliate and/or
discriminate against a government employee such as TIPTON for
supporting a candidate for Superintendent. Such law was clearly
established by, for example, Branti v. Finkel, 445 U.S. 507, 515-518
(1980); Elrod v. Burns, 427 U.S. 347, 368, 362 (1976); Rutan v.
Republican Party of Illinois, 497 U.S. 62, 72-73 (1990); Heffernan v.
City of Paterson, N.J., --- U.S. ----, 136 S.Ct. 1412, 1419 (2016); and
Randall v. Scott, 610 F.3d 701, 713 (11th Cir. 2010).
        49. At the time of the events described in this Complaint, it
was clearly established that, when an employer’s agent possessing a
discriminatory motive and inducing the formal decisionmaker to
“rubber stamp” the decision desired by the agent, both the agent and
the rubber-stamping superior are each liable to the employee. This is
the “subordinate bias” (or “cat’s paw”) theory. Such law was clearly
established by, for example, Staub v. Proctor Hosp., 562 U.S. 411, 419,
421 (2011); Stimpson v. City of Tuscaloosa, 186 F.3d 1328, 1331-32
(11th Cir. 1999); Llampallas v. Mini-Circuits, Lab, Inc., 163 F.3d 1236,
1249 (11th Cir. 1998).
        50. As such, any reasonable education official in the position of
the individual DEFENDANTS would have understood that the
retaliatory and discriminatory actions towards TIPTON violated her
First Amendment rights, and that the preexisting law clearly
established the unlawfulness of such actions.



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                           PRAYER FOR RELIEF
         51. WHEREFORE, Plaintiff TIPTON prays for judgment
against Defendants as follows:
               a. Enjoin all Defendants from interfering in any manner
 with Plaintiff TIPTON’s exercise of rights secured by the First and
 Fourteenth Amendments to the United States Constitution or from
 basing any adverse action regarding Plaintiff TIPTON’s employment
 upon her exercise of First Amendment rights;
               b. Enjoin Supt. SEWELL to recommend, and the
 HOUSTON COUNTY BOARD OF EDUCATION to approve, Plaintiff
 TIPTON’s appointment to the position of Accountability Coordinator
 for the Houston County Board of Education;
               c. Order the HOUSTON COUNTY BOARD OF
 EDUCATION to pay lost salary and benefits for the position of
 Accountability Coordinator from 15 July 2016, plus interest on such
 sums;
               d. Award compensatory damages to be paid by the
 BOARD and all individual-capacity DEFENDANTS, jointly and
 severally, in an amount proved at trial;
               e. Award punitive damages against each individual-
 capacity DEFENDANT in an amount proved at trial;
               f. Tax the costs of this action against all
 DEFENDANTS;
               g. Award attorneys’ fees to PLAINTIFF; and



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               h. Award such other relief as the court deems fair and
 appropriate under the circumstances.


                                  Submitted by,


                                  /s/ Edward Still
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                     CERTIFICATE OF SERVICE

        I certify that on 25 October 2017 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the following attorneys:

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